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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


Pauline Brooks,                                           Case No.: 16-cv-11720
on behalf of Michelle Valent, and                         Hon. Matthew F. Leitman
Michelle Valent,                                          Mag. Judge David R. Grand
        Plaintiffs,
v.
Carolyn Colvin, et al.,
     Defendants.
_____________________________________/
     STIPULATION and ORDER ALLOWING SECOND AMENDED COMPLAINT AND
              DISMISSAL OF CERTAIN CLAIM WITHOUT PREJUDICE
        The parties, through counsel, hereby stipulate that Plaintiff be allowed to file a

second amended complaint challenging the Civil Money Penalty and/or assessment in

lieu of damages under section 1129(a)(1) of the Social Security Act issued against her

and otherwise appealing the Recommended Decision of the Department of Health and

Human Services, Departmental Appeals Board, Appellate Division, Docket No. A-15-

104, November 30, 2015, which became final on March 15, 2016. Upon the filing of the

Second Amended Complaint, all other claims, to the extent stated by Plaintiff, shall be

considered dismissed without prejudice.


                                                          Daniel L. Lemisch
                                                          Acting United States Attorney




/s/ Paul F. Doherty                                       /s/ Laura Anne Sagolla
Paul F. Doherty (P36579)                                  Laura Anna Sagolla (P63951)
Attorney for Plaintiff                                    Assistant United States Attorney
                                                          Attorney for Federal Defendants
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Dated: August 15, 2017                        Dated: August 15, 2017


IT IS SO ORDERED.


                                              s/David R. Grand
                                              David R. Grand
                                              United States Magistrate Judge
